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 8                            UNITED STATES DISTRICT COURT
 9                           CENTRAL DISTRICT OF CALIFORNIA
10

11   MICHAEL PETERSEN,             )          NO. ED CV 21-849-ODW(E)
                                   )
12                  Plaintiff,     )
                                   )
13        v.                       )                JUDGMENT
                                   )
14   ROB BONTA, ATTORNEY GENERAL   )
     FOR THE STATE OF CALIFORNIA, )
15   ET AL.,                       )
                    Defendants.    )
16   ______________________________)
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           IT IS ADJUDGED that the action is dismissed without prejudice.
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                 DATED: November 9, 2021.
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                                                     OTIS D. WRIGHT II
24                                             UNITED STATES DISTRICT JUDGE
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